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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-0510V
                                      Filed: July 22, 2019
                                        UNPUBLISHED


    MARY LUDWIG,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Attorneys’ Fees and Costs
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Isaiah Richard Kalinowski, Maglio Christopher & Toale, PA, Washington, DC, for
petitioner.
Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

        On April 12, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) following receipt of her October 14, 2015 influenza (“flu”)
vaccination within the time period set forth on the Vaccine Injury Table. Alternatively,
she alleges that the flu vaccination caused or significantly aggravated her shoulder
injury. Petition at 3. On March 11, 2019, the undersigned issued a decision awarding
compensation to petitioner based on the parties’ stipulation. ECF No. 46.

1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the Internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, the undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On June 11, 2019, petitioner filed a motion for attorneys’ fees and costs. ECF
No. 51. Petitioner requests attorneys’ fees in the amount of $32,982.90 and attorneys’
costs in the amount of $1,812.57. Id. at 2. In compliance with General Order #9,
petitioner filed a signed statement indicating that petitioner incurred no out-of-pocket
expenses. Id. at 2. Thus, the total amount requested is $34,795.47.

       On June 26, 2019, respondent filed a response to petitioner’s motion. ECF No.
52. Respondent argues that “[n]either the Vaccine Act nor Vaccine Rule 13 requires
respondent to file a response to a request by a petitioner for an award of attorneys’ fees
and costs.” Id. at 1. Respondent adds, however, that he “is satisfied the statutory
requirements for an award of attorneys’ fees and costs are met in this case.” Id. at 2.
Respondent “respectfully recommends that the Chief Special Master exercise her
discretion and determine a reasonable award for attorneys’ fees and costs.” Id. at 3.

       On July 1, 2019, petitioner filed a reply. ECF No. 53. Petitioner disputes
respondent’s position that he has no role in resolving attorneys’ fees and costs and
further reiterates his view that his attorneys’ fees and costs in this case are reasonable.

      The undersigned has reviewed the billing records submitted with petitioner’s
request and finds a reduction in the amount of fees to be awarded appropriate for the
reasons listed below.

       I.       Legal Standard

         The Vaccine Act permits an award of reasonable attorneys’ fees and costs. §
15(e). Counsel must submit fee requests that include contemporaneous and specific
billing records indicating the service performed, the number of hours expended on the
service, and the name of the person performing the service. See Savin v. Sec’y of
Health & Human Servs., 85 Fed. Cl. 313, 316-18 (2008). Counsel should not include in
their fee requests hours that are “excessive, redundant, or otherwise unnecessary.”
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting
Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)). It is “well within the special master’s
discretion to reduce the hours to a number that, in [her] experience and judgment, [is]
reasonable for the work done.” Id. at 1522. Furthermore, the special master may
reduce a fee request sua sponte, apart from objections raised by respondent and
without providing a petitioner notice and opportunity to respond. See Sabella v. Sec’y of
Health & Human Servs., 86 Fed. Cl. 201, 209 (2009). A special master need not
engage in a line-by-line analysis of petitioner’s fee application when reducing fees.
Broekelschen v. Sec’y of Health & Human Servs., 102 Fed. Cl. 719, 729 (2011).

        The petitioner “bears the burden of establishing the hours expended, the rates
charged, and the expenses incurred.” Wasson v. Sec’y of Health & Human Servs., 24
Cl. Ct. at 482, 484 (1991). She “should present adequate proof [of the attorneys’ fees
and costs sought] at the time of the submission.” Id. at 484 n.1. Petitioner’s counsel
                                             2
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“should make a good faith effort to exclude from a fee request hours that are excessive,
redundant, or otherwise unnecessary, just as a lawyer in private practice ethically is
obligated to exclude such hours from his fee submission.” Hensley, 461 U.S., at 434.

        II.        Attorneys’ Fees

                   A. Excessive and Duplicative Billing

        The undersigned has previously reduced the fees paid to petitioners due to
excessive and duplicative billing. See Ericzon v. Sec’y of Health & Human Servs., No.
10-103V, 2016 WL 447770 (Fed. Cl. Spec. Mstr. Jan. 15, 2016) (reduced overall fee
award by 10 percent due to excessive and duplicative billing); Raymo v. Sec’y of Health
& Human Servs., No. 11-654V, 2016 WL 7212323 (Fed. Cl. Spec. Mstr. Nov. 2, 2016)
(reduced overall fee award by 20 percent), mot. for rev. denied, 129 Fed. Cl. 691
(2016). The undersigned and other special masters have previously noted the
inefficiency that results when cases are staffed by multiple individuals and have reduced
fees accordingly. See Sabella, 86 Fed. Cl. at 209.

       In addition to Mr. Kalinowski, there were ten paralegals that billed time in this
case, with some billing less than one hour. This resulted in multiple reviews of the
same records, orders, and updates to the clients file. For example, a total of 59 entries
by Mr. Kalinowski and the paralegals were billed to review the same court notifications
of electronic filings, for a total of 8.5 hours. The undersigned reduces the request for
attorneys’ fees by $851.803, the total amount of duplicated billing entries by the
paralegals.

                   B. Administrative Time

       Upon review of the billing records submitted, it appears that a number of entries
are for tasks considered clerical or administrative. In the Vaccine Program, secretarial
work “should be considered as normal overhead office costs included within the
attorneys’ fee rates.” Rochester v. U.S., 18 Cl. Ct. 379, 387 (1989); Dingle v. Sec’y of
Health & Human Servs., No. 08-579V, 2014 WL 630473, at *4 (Fed. Cl. Spec. Mstr.
Jan. 24, 2014). “[B]illing for clerical and other secretarial work is not permitted in the
Vaccine Program.” Mostovoy, 2016 WL 720969, at *5 (citing Rochester, 18 Cl. Ct. at
387). Several line item entries would be considered administrative including:

               •   October 12, 2016 (0.20 hrs) “Receive and process correspondence from
                   Avera St. Luke’s Clinic”
               •   April 12, 2017 (0.10 hrs) “Organize and update case costs and file with
                   expense related to petition’s filing and mailing service copies to
                   Respondent”

3This amount consists of ($145 x 3 hrs = $435) + ($148 x 2.4 hrs = $355.20) + ($154 x 0.4 hrs = $61.60)
= $851.80.
                                                   3
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                 •   September 14, 2017 (0.20 hrs) “Receive correspondence from Revive Day
                     Spa in regards to records request”
                 •   January 31, 2018 (0.10 hrs) “Send medical records request to Aberdeen
                     Orthopaedic”

ECF No. 51-1 at 3, 5, 9 and 12.4

      The undersigned reduces the request for attorney’s fees in the amount of
$348.305, the total for the tasks considered administrative.

          III.       Attorney Costs

        Petitioner requests reimbursement for attorney costs in the amount of $1,812.57.
After reviewing petitioner’s invoices, the undersigned finds no cause to reduce
petitioner’s’ request and awards the full amount of attorney costs sought.

          IV.        Conclusion

     Based on the reasonableness of petitioner’s request, the undersigned GRANTS
IN PART petitioner’s motion for attorneys’ fees and costs.

       Accordingly, the undersigned awards the total of $33,595.376 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
Isaiah Kalinowski. Petitioner requests check be forwarded to Maglio Christopher
& Toale, PA, 1605 Main Street, Suite 710, Sarasota Florida 34236.


          The clerk of the court shall enter judgment in accordance herewith. 7

IT IS SO ORDERED.

                                                            s/Nora Beth Dorsey
                                                            Nora Beth Dorsey
                                                            Chief Special Master

4   These are merely examples and not an exhaustive list.

5   This amount consists of ($145 x 2.3 hrs = $333.50) + ($148 x 0.1 hrs = $14.80) = $348.30.

6This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

7 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                      4
